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12

13                                  UNITED STATES DISTRICT COURT

14                             NORTHERN DISTRICT OF CALIFORNIA

15                                        SAN JOSE DIVISION

16   APPLE INC., a California corporation,               Case No. 11-cv-01846-LHK (PSG)

17                     Plaintiff,                        ADMINISTRATIVE MOTION TO
                                                         FILE UNDER SEAL DOCUMENTS
18          v.                                           REGARDING APPLE’S
                                                         OPPOSITION TO SAMSUNG’S
19   SAMSUNG ELECTRONICS CO., LTD., a                    DESIGN CLAIM CONSTRUCTION
     Korean corporation; SAMSUNG
20   ELECTRONICS AMERICA, INC., a New
     York corporation; and SAMSUNG
21   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
22
                       Defendants.
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     ADMIN. MOT. TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPP. TO DESIGN CLAIM CONSTRUCTION
     CASE NO. 11-CV-01846-LHK (PSG)
     sf-3163699
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 1           In accordance with Civil Local Rules 7-11 and 79-5, and General Order No. 62, Apple Inc.
 2   (“Apple”) submits this motion for an order to seal the following documents or portions thereof:
 3           1.     The confidential, unreacted Declaration of Peter Bressler in Support of Apple’s
 4                  Response to Samsung’s Opening Memorandum Regarding Design Patent Claim
 5                  Construction (“Bressler Declaration”), portions of which have been designated
 6                  confidential as set forth below;
 7           2.     Exhibits 2-11, 20, 31-37, 39-40 and 72-77 to the Declaration of Peter Bressler in
 8                  Support of Apple’s Response to Samsung’s Opening Memorandum Regarding
 9                  Design Patent Claim Construction, which has been designated confidential as set
10                  forth below; and
11           3.     Exhibits 1-14 and 27 to the Declaration of Jason R. Bartlett In Support of Apple’s
12                  Response to Samsung’s Opening Memorandum Regarding Design Patent Claim
13                  Construction (“Bartlett Declaration”), which has been designated confidential as
14                  set forth below.
15           Exhibits 2-11, 31-37, and 72-77 to the Bressler Declaration and Exhibits 1-3 and 5-12 to
16   the Bartlett Declaration contain information that is highly confidential as set out in the
17   Declaration of Cyndi Wheeler in Support of Apple’s Administrative Motion to File Documents
18   Under Seal (Wheeler Declaration”). It is Apple’s policy not to disclose or describe to third
19   parties its confidential patent strategy, design and product development information. (Wheeler
20   Declaration ¶ 4.) The Apple-confidential material in these exhibits relate to such confidential
21   information, as detailed in the Wheeler Declaration. (Id. ¶ 2-3.) This information is highly
22   confidential to Apple and could be used by Apple’s competitors to Apple’s disadvantage if
23   disclosed publicly. (Id.) The relief requested in this motion is necessary and is narrowly tailored
24   to protect confidential information, focusing only on specific portions of the documents at issue.
25   (Id. ¶ 6.)
26           Exhibits 20 and 39-40 to the Bressler Declaration and Exhibits 4 and 13-14 to the Bartlett
27   Declaration contain materials that Samsung has designated as confidential under the protective
28
     ADMIN. MOT. TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPP. TO DESIGN CLAIM CONSTRUCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                       1
     sf-3163699
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 1   order entered in this case. Apple expects that, pursuant to Civil Local Rule 79-5(d), Samsung will
 2   file a declaration seeking to establish good cause to permit the sealing of these materials.
 3            Finally, to extent the Bressler Declaration refers to or discusses the above-referenced
 4   confidential materials, it could be used to Apple’s disadvantage by competitors if not filed under
 5   seal, for the same reasons. (Id. ¶ 5.)
 6            Pursuant to Civil Local Rule 79-5(c), Apple will lodge with the Clerk the documents at
 7   issue.
 8   Dated: June 26, 2012                           MORRISON & FOERSTER LLP

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10                                                  By:     /s/ Michael A. Jacobs
                                                            MICHAEL A. JACOBS
11
                                                            Attorneys for Plaintiff
12                                                          APPLE INC.

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     ADMIN. MOT. TO FILE UNDER SEAL DOCUMENTS RE APPLE’S OPP. TO DESIGN CLAIM CONSTRUCTION
     CASE NO. 11-CV-01846-LHK (PSG)                                                                       2
     sf-3163699
